
977 So.2d 957 (2008)
In the Matter of BELLE COMPANY, L.L.C. Type I and II Solid Waste Landfill, Proceedings Under the Louisiana Environmental Quality Act La. R.S. 30:2001 et Seq.
Belle Company, L.L.C.
v.
Dr. Michael McDaniel, Secretary of the Louisiana Department of Environmental Quality; and Dr. Chuck Carr Brown, Assistant Secretary of the Louisiana Department of Environmental Quality.
No. 2008-C-0220.
Supreme Court of Louisiana.
March 24, 2008.
In re Environmental Quality Louisiana Department of; McDaniel, Michael Dr. Secretary; Brown, Chuck Carr Dr.;  Defendant(s); Applying for Writ of Certiorari and/or Review, Parish of E. Baton Rouge, 19th Judicial District Court Div. D, Nos. 442,943, 536,648; to the Court of Appeal, First Circuit, No(s). 2006 CA 1077, 2006 CA 1078.
Denied.
WEIMER, J., recused.
